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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                    V.                                         (For Offenses Committed On or After November 1, 1987)


          JOSE MANUEL PEREZ-MAZO (1)                                              Case Number:              22CR0626-JO

                                                                               Veronica Portillo-Heap, Federal Defenders of San Diego, Inc.
                                                                               Defendant's Attorney
USM Number                           03701-506
• -
THE DEFENDANT:
IZI pleaded guilty to count(s)             1 of the Information.

D     was found guilty on count( s)
    after a plea of not guiltv.
Accordingly, the defendant is adjudged guilty of such count(s ), which involve the following offense(s ):
                                                                                                                                               Count
Title & Section                       Nature of Offense                                                                                      Number(s)
8 USC 1326                            REMOVED ALIEN FOUND IN THE UNITED STATES (Felony)                                                          1




     The defendant is sentenced as provided in pages 2 through                               2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

D     The defendant has been found not guilty on count(s)

D     Count(s)                                                             is dismissed on the motion of the United States.


IZI   Assessment: $100.00 waived.
      Pursuant to the motion of the United States under 18 USC 3573, the special assessment provided for under 18 USC 3013 is waived and remitted as uncollectible.

D     JVTA* Assessment:$
      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   Fine waived                  D Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                                June 3, 2022
                                                                                Date of Imposition of Sentence



                                                                                             BLE JINSOOK OHTA
                                                                                           D STATES DISTRICT JUDGE
  •        Case 3:22-cr-00626-JO Document 34 Filed 06/09/22 PageID.72 Page 2 of 2

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                JOSE MANUEL PEREZ-MAZO (1)                                               Judgment - Page 2 of 2
CASE NUMBER:              22CR0626-JO

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 TIME SERVED.




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •     at
                ---------                  A.M.               on
                                                                   -------------------
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                -------------- to ----------------
 at
      ------------ ,                        with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                          22CR0626-JO
